                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 :
                                         :
             v.                          :       CASE NO. 21-CR-507 (PLF)
                                         :
STEPHANIE MARYLOU BAEZ,                  :
                                         :
                                         :
                    Defendant.           :

      NOTICE OF SUBMISSION OF JOINT PROPOSED SCHEDULING ORDER

      Pursuant to the Court’s order, the parties hereby jointly submit the attached proposed

Scheduling Order.

                                         Respectfully submitted,

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